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                                                                                            not




                                      17-35998

                                                 1:16-cv-00076-BLW

                                                 District of Idaho

                Gloria Mitchell, et al.                                 Winco Foods, LLC


                                                      Dkts. 28, 34



                                                      Gloria Mitchell




Appellant Mitchell alleges that Defendant Winco Foods, LLC ("Winco") serially violates the Fair Credit Reporting
Act, 15 U.S.C. § 1681 ("FCRA") by failing to provide a stand-alone disclosure and authorization form to its job
applicants and employees before it procures consumer reports about them. Specifically, Winco's disclosure form
contains information regarding the nature and scope of an investigative consumer report that may be procured
such that the consumer report disclosure mandated by 15 U.S.C. § 1681b(b)(2)(i) cannot be said to “stand alone”
as required.




 The District Court dismissed Mitchell's Class Action Complaint for supposed lack of Article III Standing in light of
 Spokeo, Inc. v. Robins, 136 S.Ct. 1540 (2016), citing a lack of concrete injury. The District Court subsequently
 denied Mitchell's Motion to Reconsider in light of Syed v. M-I, LLC, 846 F.3d 1034 (9th Cir. 2017). The primary
 issue on appeal is whether Mitchell has standing to sue where she properly alleges a violation of her federal
 statutory rights under the FCRA.




 N/A
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    Mitchell is willing to pursue a class-wide resolution of this case, but does not believe Winco is interested in
    discussing a class settlement at this time.




                                                     in confidence




x



x


                s/ Patrick H. Peluso



                   Plaintiff-Appellant Gloria Mitchell
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                    CERTIFICATE OF SERVICE AND SERVICE LIST

       I am a resident of the State of Colorado, over the age of eighteen years old, and am not a

party to this lawsuit. My business address is 3900 E. Mexico Avenue, Suite 300, Denver,

Colorado 80210. I HEREBY CERTIFY that on the 19th day of December 2017, I filed the

foregoing MEDIATION QUESTIONNAIRE electronically through the CM/ECF system,

which caused the following parties or counsel to be served by electronic means, as more fully

reflected on the Notice of Electronic Filing:

                              Rick D. Roskelley, Attorney for Winco Foods, LLC
                              Littler Medelson
                              3960 Howard Hughes Parkway, Suite 300
                              Las Vegas, NV 89169
                              702-862-8800
                              rroskelley@littler.com

       I declare that the foregoing is true and correct.

                                                      /s/ Patrick H. Peluso
